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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                Case No.: 0:18-cr-60053-BB-1

    UNITED STATES OF AMERICA,

            Plaintiff,

    vs.

    DANIEL HUFFMAN,

            Defendant.

    ___________________________/

          DEFENDANT’S THIRD UNOPPOSED MOTION TO CONTINUE TRIAL

            Defendant, DANIEL HUFFMAN (“HUFFMAN”), by and through undersigned

    counsel, hereby files his Third Unopposed Motion to Continue Trial, and, in support

    thereof, states as follows:

               1.   On March 8, 2018, an Indictment was returned charging HUFFMAN with

    one (1) count of possession of child pornography in violation of 18 U.S.C. §§ 2252(a)(4)(B)

    and (b)(2).

          1.        On April 26, 2018, a Superseding Indictment was returned charging

    HUFFMAN with three (3) counts of production of child pornography in violation of 18

    U.S.C. §§ 2251(a) and (e), three (3) counts of receipt of child pornography in violation of 18

    U.S.C. §§ 2252(a)(2) and (b)(1), and one (1) count of possession of child pornography in

    violation of 18 U.S.C. §§ 2252(a)(4)(B) and (b)(2).

          2.        HUFFMAN suffers from at least one (1) well-documented mental

    disability which is directly relevant to his defense in this matter.

          3.        On April 23, 2018, HUFFMAN filed his First Unopposed Motion to

    Continue Trial, which the Court granted, on grounds that he was scheduled to undergo a
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    psychological evaluation to determine the extent of his mental disability and whether it

    rises to the level of asserting a Fed. R. Crim. P. 12.2 defense.

         4.        On June 15, 2018, HUFFMAN filed his Second Unopposed Motion to

    Continue Trial on grounds that HUFFMAN was waiting on the results of a psychological

    evaluation and asked that the Court continue the Trial until September 2018.

         5.        The Court granted HUFFMAN’s Second Unopposed Motion to Continue

    Trial and re-set the Calendar Call for July 31, 2018 and the Trial for August 6, 2018.

         6.        Unfortunately, our psychologist, Dr. Lynda Geller1 is still working on her

    report.   By way of background for the benefit of the Court, these psychological

    evaluations and reports often take several months to prepare because of the extensive

    preparation that is required to produce them.

         7.        In the instant case, Dr. Geller has, inter alia, conducted extensive

    psychological testing of HUFFMAN; has begun interviewing his family and caretakers;

    has begun reviewing all of HUFFMAN’s voluminous psychological evaluations, clinical

    reports, and school records; and has begun producing a developmental history.

         8.        With the sheer amount of works that goes into such a report, summer

    vacations, and her other work endeavors, Dr. Geller has not yet completed her report for

    HUFFMAN.

         9.        We expect that Dr. Geller will have HUFFMAN’s report finalized in

    early- to mid-August, at which point, the undersigned will have a better understanding of

    HUFFMAN’s possible defenses.



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     HUFFMAN’s Second Unopposed Motion to Continue Trial references Dr. Eric Imhof,
    PsyD.; however, it has become unlikely that Dr. Imhof will continue to consult with
    defense counsel on this case.
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        10.         HUFFMAN has already waived2 his right to a speedy trial.

        11.         The interests of justice will be served by the granting of the instant Motion.

        12.         Based on the foregoing, HUFFMAN respectfully requests this Court

    continue the Trial, currently scheduled in this matter for August 6, 2018 until at least

    October 2018.

        13.         The undersigned has conferred with Special Assistant United States Attorney

    M. Catherine Koontz with respect to this Motion. Ms. Koontz advised the Government has

    no objection to the relief requested herein.

           WHEREFORE, Defendant, DANIEL HUFFMAN, for good cause shown, prays

    this Honorable Court grant his Third Unopposed Motion to Continue Trial, and for such

    other and further relief as may be just and proper.

                                                            Respectfully submitted,

                                                            GRAY ROBINSON, P.A
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                                                            By:
                                                            s/Joel Hirschhorn
                                                            JOEL HIRSCHHORN
                                                            Florida Bar #104573




    2
      Although it is unclear whether 18 U.S.C. § 3161 et seq. authorize a “waiver” of one’s
    speedy trial rights, it is clear that HUFFMAN certainly can do so under the Sixth
    Amendment to the U.S. Constitution.
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                                   CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on July 24, 2018, I electronically filed the foregoing with

    the Clerk of the Court by using the CM/ECF system which will send a notice of electronic

    filing to all counsel of record.


                                                        s/Joel Hirschhorn
                                                        JOEL HIRSCHHORN




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